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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig                     :              MDL No. 2179
       “Deepwater Horizon” in the
       Gulf of Mexico on                            :              Section J [1]
       April 20, 2010
                                                    :              Judge Barbier
This Document Relates to:                                          Mag. Judge Shushan
Clay Whittinghill v. Abdon Callais Offshore         :
             No. 10-1984
                                        :
:::::::::::::::::::::::::::::::::::::::::

       REQUEST FOR ORAL ARGUMENT ON PLAINTIFF’S OPPOSITION TO
          DEFENDANT’S MOTION TO COMPEL ARBITRATION AND
                STAY LITIGATION PENDING ARBITRATION

       Plaintiff, pursuant to L.R. 78.1, requests oral argument on his Opposition to Defendant’s

Motion to Compel Arbitration and Stay Litigation Pending Arbitration.


                                                    Respectfully Submitted,
                                                    MARTZELL & BICKFORD, A.P.C.

                                                    s/ Spencer R. Doody
                                                    __________________________________
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing has been served on all counsel of

record via the Court’s Electronic Filing/Notification System on September 7, 2010.


                                                   s/ Spencer R. Doody
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